      Case 1:22-cv-00409-REP Document 58 Filed 09/14/23 Page 1 of 12




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               IN THE UNITED STATES DISTRICT COURT

                       FOR THE DISTRICT OF IDAHO

MH and TB, individually,
                                             Case N. 1:22-cv-00409-REP
                   Plaintiffs,
                                             REPLY IN SUPPORT OF MO-
v.                                           TION FOR CERTIFICATION
                                             OF INTERLOCUTORY AP-
DAVID JEPPESEN, in his official capacity     PEAL AND STAY PENDING
as the Director of the Idaho Department of   APPEAL
Health and Welfare, et al.,

                   Defendants.
        Case 1:22-cv-00409-REP Document 58 Filed 09/14/23 Page 2 of 12




                                   INTRODUCTION

      Since the filing of this motion, intervening decisions of the courts of appeals

have shown even more need for interlocutory appellate review of the entirety of the

Court’s Order. The circuit conflict over the application of Geduldig v. Aiello, 417 U.S.

484, 487 (1974), has deepened, with the Eleventh Circuit joining the Sixth in the view

that state regulation of medical procedures concerning gender dysphoria does not

constitute a classification that triggers equal protection scrutiny. Eknes-Tucker v.

Gov. of Ala., ___ F.4th ____, 2023 WL 5344981 (11th Cir. Aug. 21, 2023); L.W. v.

Skrmetti, 73 F.4th 408 (6th Cir. 2023). Meanwhile, the Ninth Circuit, addressing a

different question related to gender dysphoria and sports competition, has issued a

new opinion clarifying the application of heightened scrutiny but leaving other ques-

tions open. Hecox v. Little, ___F.4th___, 2023 WL 5283127 (9th Cir. Aug. 17, 2023).

Not only that, but its decision is subject to two en banc petitions to which the Court

has called for a response. In short, these questions are hotly debated in the appellate

courts as a matter of law in a variety of recent decisions and ongoing proceedings.

      This is precisely the sort of situation in which interlocutory review is appropri-

ate. That is especially true because these same questions are already on appeal to

the Ninth Circuit in the context of the Court’s ruling as to qualified immunity. Plain-

tiffs offer little ground to engage in wasteful discovery proceedings on those same

questions in this Court while they are pending review in the Ninth Circuit. Instead,

the Court should certify its entire Order for interlocutory appeal and stay proceedings

in this Court pending appeal.


REPLY IN SUPPORT OF MOTION FOR CERTIFICATION OF INTERLOCUTORY
                            APPEAL AND STAY PENDING APPEAL – 1
         Case 1:22-cv-00409-REP Document 58 Filed 09/14/23 Page 3 of 12




                                      ARGUMENT

I.     The Court’s order meets the criteria for certification under § 1292(b).

     A. There are substantial grounds to dispute controlling questions of law.

       Certification for interlocutory appeal requires only one controlling question of

law. “So long as a pure legal question is identified, … an order can be certified for

appeal to resolve all questions ‘material to the order.’” TCL Comms. Tech. Holdings

Ltd. v. Telefonaktenbologet LM Ericsson, No. SACV 14-00341-JVS, 2014 WL

12588293 at *3 (C.D. Cal. 2014) (quoting Steering Comm. v. United States, 6 F.3d 572,

576 (9th Cir. 1993)). Because the Court’s Order ruled on Rule 12(b)(6) as to the legal

sufficiency of the pleading, all the questions are pure legal questions, and those ques-

tions are necessarily controlling: whether or not Plaintiffs’ lawsuit may proceed. N.

Star Int’l v. Ariz. Corp. Comm’n, 720 F.2d 578, 580–81 (9th Cir. 1983); Assoc. of Irri-

tated Residents v. Fred Schakel Dairy, 634 F.Supp.2d 1081, 1089 (E.D. Cal. 2008)

(citing Klinghoffer v. S.N.C. Achille Lauro, 921 F.2d 21, 24 (2nd. Cir. 1990)). The only

issue is whether there are substantial grounds to dispute the Court’s ruling on those

questions.

       Plaintiffs’ briefing shows that substantial grounds exist for a difference of opin-

ion as to not just one question of law, but three. They acknowledge the standard

under Couch v. Telescope Inc., 611 F.3d 629 (9th Cir. 2010), for proving controlling

questions of law as to which there are substantial grounds for a difference of opinion.

As Plaintiffs explain, courts will generally find this standard met if “the circuit courts

are in dispute and the court of appeals has not ruled on the issue previously” or “first-


REPLY IN SUPPORT OF MOTION FOR CERTIFICATION OF INTERLOCUTORY
                            APPEAL AND STAY PENDING APPEAL – 2
        Case 1:22-cv-00409-REP Document 58 Filed 09/14/23 Page 4 of 12




impression questions that are novel and difficult are at issue.” Dkt. 57 at 5 (citing

Couch, 611 F.3d at 633). And that standard is readily met here: decisions of the

courts of appeals conflict with the Court’s application of Geduldig and the Court’s

rulings on the level of scrutiny and due process present novel and difficult questions.

      1. The courts of appeals apply Geduldig contrary to the Court’s order.

      The touchstone rationale for certification is disagreement among the circuits

on a question of law that the Ninth Circuit has yet to address. Couch, 611 F.3d at

633. This Court’s application of Geduldig to a question of state insurance coverage

in the gender dysphoria context is a textbook example. This Court’s holding that the

sex-pregnancy distinction made by Geduldig does not apply here runs contrary to the

reasoning of two circuit courts that have considered whether regulation of treatments

for gender dysphoria constitutes a classification for purposes of equal protection.

      Most recently, the Eleventh Circuit considered whether a prohibition on both

hormone and surgical treatments for gender dysphoria constituted a violation of due

process and equal protection. Eknes-Tucker, 2023 WL 5344981 at *17. The Eleventh

Circuit held that, even assuming that transgender status was a protected class, that

unless the classification was a mere pretext, that such treatments were permissibly

regulated. Such a classification is based on “target[ing] specific medical interven-

tions” for a particular condition, not the class to whom the condition applies. 1 Id. at



1 Incidentally, this holding has the effect of overturning the contrary reasoning of the

District Court in Doe v. Ladapo, cited by Plaintiffs, which held that Geduldig did not
apply to such treatments. See ___ F.Supp.3d ___, 2023 WL 3833848 at *10 (N.D. Fla.


REPLY IN SUPPORT OF MOTION FOR CERTIFICATION OF INTERLOCUTORY
                            APPEAL AND STAY PENDING APPEAL – 3
        Case 1:22-cv-00409-REP Document 58 Filed 09/14/23 Page 5 of 12




*15. Further, the Court noted that the mere fact that the statute mentioned “sex”

was not relevant to an equal protection analysis: “the statute refers to sex only be-

cause the medical procedures that it regulates—puberty blockers and cross-sex hor-

mones as a treatment for gender dysphoria—are themselves sex-based.” Id. at *16.

It would, of course, be difficult to regulate such treatments without reference to sex,

even as an adjective. Id. An injunction on an equal protection theory would “not

require the government to treat boys and girls the same,” but rather “merely force

Alabama to either ban puberty blockers and hormones for all purposes or allow them

for all purposes.” Id. at *20 (Brasher, J., concurring).

      The Sixth Circuit did the same in L.W. It also applied Geduldig for the propo-

sition that the regulation of medical procedures relating to gender dysphoria does not

trigger heightened scrutiny: “If a law restricting a medical procedure that applies

only to women does not trigger heightened scrutiny, as in Dobbs, a law equally appli-

cable to all minors, no matter their sex at birth, does not require such scrutiny either.”

73 F.4th at 419. Plaintiffs attempt to distinguish L.W. on the basis of its procedural

posture and the fact that it relates to minors, but neither of those grounds addresses

its fundamental legal reasoning applying Geduldig.

      These holdings clash directly with the Court’s reasoning that Plaintiffs could

state a claim for proxy discrimination based on mere disparate impact, Dkt. 36 at 2,

or facial discrimination based on the words used to describe the policy. Id. The



June 6, 2023). In turn, it stands in accord with the reasoning of Lange v. Houston,
499 F.Supp.3d 1258 at 1275–76 (M.D. Ga. 2020). See Dkt. 36 at 21.

REPLY IN SUPPORT OF MOTION FOR CERTIFICATION OF INTERLOCUTORY
                            APPEAL AND STAY PENDING APPEAL – 4
        Case 1:22-cv-00409-REP Document 58 Filed 09/14/23 Page 6 of 12




Court’s analysis of proxy discrimination was directed at the disparate impact of the

policy, which the Eleventh Circuit addressed and rejected. Eknes-Tucker, 2023 WL

5344981 at *17 (discussing Geduldig as reaffirmed by Dobbs v. Jackson Women’s

Health Org., 597 U.S. ___, 142 S. Ct. 2228, 2245–46 (2022)). That conflict shows there

are substantial grounds to dispute the Court’s holding on this theory.

      The Ninth Circuit’s decision in Hecox v. Little is not to the contrary. Hecox, of

course, has nothing to do with health care—it concerned a policy that facially distin-

guished on the basis of biological sex as the state conceded. 2023 WL 5283127, at *7.

It also concerned a policy that made express reference to biological sex, and provided

for special protections and challenge mechanisms for women’s sports, but not men’s.

Id. at *18–20. That the Ninth Circuit did not apply Geduldig in Hecox in those cir-

cumstances says nothing of how it applies here in the context of decisions about med-

ical care, which is directly parallel to Geduldig. Thus, the question of how such laws

are evaluated under equal protection, while resolved in the Sixth and Eleventh Cir-

cuits, remains open in the Ninth.

      That matters even more in the light of the Ninth Circuit’s decision in Doe v.

Snyder, 28 F.4th 103 (9th Cir. 2022). There, the Ninth Circuit did not address

Geduldig, but it did rule that a district court properly denied a preliminary injunction

against a similar state insurance program that disallowed coverage of certain treat-

ments for gender dysphoria. 28 F.4th 103, 114 (9th Cir. 2022). Since the Ninth Cir-

cuit has denied the same ultimate relief that Plaintiffs seek and not addressed the




REPLY IN SUPPORT OF MOTION FOR CERTIFICATION OF INTERLOCUTORY
                            APPEAL AND STAY PENDING APPEAL – 5
        Case 1:22-cv-00409-REP Document 58 Filed 09/14/23 Page 7 of 12




application of Geduldig, the contrary decisions of the Sixth and Eleventh Circuits on

this matter warrant interlocutory review of the Court’s Order.

       2. The level of scrutiny and due process are novel and difficult issues.

       The standards of section 1292(b) are also easily satisfied as two other questions

of law: one as to the level of scrutiny and two as to Plaintiffs’ due process claims.

       First, the Court’s ruling as to the level of scrutiny presents novel and difficult

questions. While the Ninth Circuit’s decision in Hecox now conclusively establishes

(pending en banc review) that gender dysphoria classifications are subject to inter-

mediate scrutiny, see Hecox, 2023 WL 5283127, at *11-12, it leaves open the question

raised by Defendants of what standard applies when state law decides how to allocate

benefits to those within that classification. Dkt. 50-1 at 12. Plaintiffs do not respond

to that argument, much less attempt to argue that it does not present a novel and

difficult question.

       Indeed, it plainly does. As Defendants’ briefing shows, even if a class is subject

to additional scrutiny, that does not mean that every policy that does not go far

enough in satisfaction of the needs of the class is equally scrutinized. “[R]eform may

take one step at a time” and “[t]he legislature may select one phase of one field and

apply a remedy there, neglecting the others.” Williamson v. Lee Optical of Okla., 348

U.S. 483, 489 (1955) (citations omitted). Just as the “mere mention of the term ‘race’

does not automatically invoke the ‘strict scrutiny’ standard or render the term ‘Ha-

waiian’ unconstitutional,” Hoohuli v. Ariyoshi, 631 F. Supp. 1153, 1159, n.23 (D. Haw.




REPLY IN SUPPORT OF MOTION FOR CERTIFICATION OF INTERLOCUTORY
                            APPEAL AND STAY PENDING APPEAL – 6
       Case 1:22-cv-00409-REP Document 58 Filed 09/14/23 Page 8 of 12




1986), so too does the invocation of the term “gender dysphoria” not trigger height-

ened scrutiny when what is at issue is the boundary of the State’s “largesse.” Id. at

1160. Here, Idaho has chosen as a matter of policy to pay for certain treatments to

people with gender dysphoria, but not for others. Yet Plaintiffs’ footnote response on

this point fails to engage with this reasoning at all. See Dkt. 57 at 18–19, n.12. It

presents no ground to deny certification.

      Second, the Court’s ruling on Plaintiffs’ due process claims also presents novel

and difficult questions. The Court reasoned from the “property interest in continuing

to receive government benefits” under Goldberg v. Kelly, 397 U.S. 254 (1970), to find

a protected property interest in “genital reconstruction surgery … when medically

necessary.” Dkt. 36 at 31–32. That holding breaks new legal ground in this Circuit

and thus presents a novel and difficult question. Plaintiffs mistakenly argue this

issue is not proper for certification because Defendants “offer no controlling cases

supporting their legal theory.” Dkt. 57 at 20. A “controlling question of law” does not

mean “requires controlling legal authority.” To the contrary, Couch recognizes an

interlocutory appeal where there is an absence of controlling legal authority: when an

order presents a difficult and novel question. 611 F.3d at 633. That is exactly the

case here.

   B. Immediate appeal will materially advance the end of this litigation.

      The Ninth Circuit has recognized that interlocutory review of a denial of a mo-

tion to dismiss based on the legal sufficiency of the complaint meets the requirement

of materially advancing the termination of the litigation. Fortyune v. City of Lomita,


REPLY IN SUPPORT OF MOTION FOR CERTIFICATION OF INTERLOCUTORY
                            APPEAL AND STAY PENDING APPEAL – 7
        Case 1:22-cv-00409-REP Document 58 Filed 09/14/23 Page 9 of 12




766 F.3d 1098, 1101 n.2 (9th Cir. 2014); accord Klinghoffer, 921 F.2d at 25. As the

Ninth Circuit has explained, the possibility that reversal by the court of appeals

“may” take certain claims or certain defendants “out of the case … is sufficient to

advance materially the litigation.” Reese v. BP Expl. (Alaska) Inc., 643 F.3d 681, 688

(9th Cir. 2011). The same is equally true here.

      Plaintiffs oppose this element primarily on the ground that discovery has not

been completed. Dkt. 57 at 20–22. At first, this is irrelevant—what discovery may

or may not show does not matter to whether Plaintiffs have even stated cognizable

claims for relief. And second, this actually underscores why interlocutory review is

appropriate: it will avoid the need for taking extensive document and deposition dis-

covery that may be unnecessary if Plaintiffs lack a valid legal theory. And that is all

the more warranted since Dr. Hamso’s appeal as to the same questions will proceed

anyway, and Ninth Circuit caselaw demands that the appeal be automatically stayed

as to her in the interim. Chuman v. Wright, 960 F.2d 104, 105 (9th Cir. 1992). There

is no sense in conducting discovery at this time when a key party and witness is in-

sulated from participating in her pending appeal.

      Plaintiffs confuse the role of Dr. Hamso’s appeal on this motion. They say that

“[e]ven if Defendants certify a successful appeal on qualified immunity against Dr.

Hamos, [sic] they do not show how it would ultimately terminate the Equal Protection

and Due Process claims for equitable relief.” Dkt. 57 at 21. But Defendants are not

trying to certify an appeal as to Dr. Hamso—Dr. Hamso has already taken that ap-

peal as of right. Mitchell v. Forsyth, 472 U.S. 511 (1985). And the issues on that


REPLY IN SUPPORT OF MOTION FOR CERTIFICATION OF INTERLOCUTORY
                            APPEAL AND STAY PENDING APPEAL – 8
       Case 1:22-cv-00409-REP Document 58 Filed 09/14/23 Page 10 of 12




appeal—whether Plaintiffs pled cognizable equal protection and due process claims

against Dr. Hamso—are the very same issues that govern those claims as to the other

defendants. The possibility that an appeal will dispose of those claims as to any or

all defendants warrants certification.

II.   The Court should grant a stay pending appeal.

      The Court should grant a stay of proceedings no matter whether it certifies an

interlocutory appeal. If the Court grants certification of the appeal, then a stay will

promote the “orderly course of justice” in terms of complicating or simplifying the case

and prevent hardship to Defendants through extensive discovery as to claims that

may be legally insufficient. CMAX, Inc. v. Hall, 300 F.2d 265, 268 (9th Cir. 1962)

(citing Landis v. N. American Co., 299 U.S. 248, 254–55 (1936)). And the Court

should also stay proceedings even if it does not grant certification, since it makes little

sense to proceed with that discovery while proceedings are automatically stayed

against Dr. Hamso, a key witness and party with whom the claims against the other

defendants are “intertwined.” Peck v. County of Orange, 528 F. Supp. 3d 1100, 1106–

07 (C.D. Cal. 2021).

      Plaintiffs talk past these arguments and focus on other considerations, but to

no avail. They rely on the holding in Lockyer v. Mirant Corp., 398 F.3d 1098 (9th Cir.

2005), that “[o]nly in rare circumstances will a litigant in one cause be compelled to

stand aside while a litigant in another settles the rule of law that will define the

rights of both.” Id. at 1109–10. But Plaintiffs forget that they are parties to both pro-

ceedings, so Lockyer does not apply. Next, Plaintiffs argue that the Court should not


REPLY IN SUPPORT OF MOTION FOR CERTIFICATION OF INTERLOCUTORY
                            APPEAL AND STAY PENDING APPEAL – 9
       Case 1:22-cv-00409-REP Document 58 Filed 09/14/23 Page 11 of 12




grant a stay because it will prejudice their need to obtain these surgeries and have

them paid for by Medicaid. But if Plaintiffs seek that relief on an emergency basis,

their remedy is not to insist on wasteful discovery now, but to move for a preliminary

injunction. They have not done so, and if they did, it would be properly denied and

affirmed by the Ninth Circuit, just like in Doe v. Snyder, 28 F.4th at 114.

                                    CONCLUSION

      For the foregoing reasons, the Court should grant the instant motion and re-

quest for stay.

      DATED: September 14, 2023.

                                        STATE OF IDAHO
                                        OFFICE OF THE ATTORNEY GENERAL


                                   By: /s/ Lincoln D. Wilson
                                       LINCOLN DAVIS WILSON
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REPLY IN SUPPORT OF MOTION FOR CERTIFICATION OF INTERLOCUTORY
                            APPEAL AND STAY PENDING APPEAL – 10
      Case 1:22-cv-00409-REP Document 58 Filed 09/14/23 Page 12 of 12




                        CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on September 14, 2023, I electronically filed the
foregoing document with the Clerk of the Court using the CM/ECF system, which
sent of Notice of Electronic Filing to the following parties:

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                                By: /s/ Lincoln D. Wilson
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REPLY IN SUPPORT OF MOTION FOR CERTIFICATION OF INTERLOCUTORY
                            APPEAL AND STAY PENDING APPEAL – 11
